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5
                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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9
     RICHARD MENDOZA,                    CR. NO. 2:07-0248-12 WBS
10
                   Petitioner,           ORDER
11
          v.
12
     UNITED STATES OF AMERICA,
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                   Respondent.
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18              On February 28, 2017, defendant Richard Mendoza filed a

19   motion to reduce sentence pursuant to 18 U.S.C. § 3582.           (Docket

20   No. 1503.)   The United States shall file an opposition to

21   petitioner’s motion no later than March 29, 2017.         Petitioner may

22   then file a reply no later than April 19, 2017.        The court will

23   then take the motion under submission and will inform the parties

24   if oral argument or further proceedings are necessary.

25              IT IS SO ORDERED.

26   Dated:    March 1, 2017

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